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         5
                                         UNITED STATES DISTRICT COURT
        6                                     DISTRICT O F NEVADA

        7 UNITED STATESOFAM ERICA,                            )
                                                              )
         8                         Plaintiff,                 )
                                                              )
        9             v.                                      )
        10ljcuam-sssowxaouoolts                 ,
                                                              )
                                                              )        2:10-CR-104-GMN(VCF)
                                                              )
        11                         Defendant.                 )
        12                                 FINAL ORDER O l?YO RFEITURE                                            1
                                                                                                                  1

        l3            On Septem ber9,201l,theUnited StatesDistrictCourtfortheDistrictofNevadaentereda
        14 Prelim inaryOrderofForfeiturepursuantto Fed. R.Crim.P.32.2(b)(1)and(2))andTitle21,United

        15 StatesCode,Sections853(a)(1)and (a)(2),baseduponthepleaofguiltr bydefendantCHARLES
        16 EDW ARD M OORE,to crim inaloffenses,forfeiting specitic property alleged in the Criminal
        17 lndictmentand agreed to in the Plea M emorandum and shown by the United Statesto have the
    18 requisite nexusto the offensesto which defendantCHARLES EDW ARD M OORE, pled guilty,
    19        Docket#1,#87,#:8,#89.
    20                This Courtfinds the United States ofAmelica published the notice of the forfeiture in
    21                                                                                                            1
              accordance with the 1aw via the ofticialgovernmentinternetforfeiture site, w ww ,forlkiture.gov,
    22        consecutivelyfrom Septem ber13,2011,through October12, 2011,notifyinga11third partiesoftheir
    23 rightto petition theCourt.#98.
    24                ThisCourttinds nopetitionsweresledhereinbyor(m behalfofanyperson orentityandthe
    25:' time forfiling such petitionsaad claim shasexpired.

    26        ...

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                                                                                               :
         TilisCourtfindsnopetitionsarependingwith regard totheassetsnamedbereinandthetim e
 forpresenting such petitionshasexpired.
         THEREFORE,IT IS HEREBY ORDERED,ADJUDGEDSAND DECREED thatallright,
 title,and interestin the property hereinaftexdescdbed is condenm ed,forfeited,and vested in tbe
 United StatesofAmerica pursuantto Fed.R,Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
 32.2(c)(2);Tit1e21,United StatesCode,Sections853(a)(1)and (a)(2);andTitle21,United States
 Code,Section 853(n)(7)andshallbedisposedofaccordingto law:
         a)    $3,630.00inUnited StatesCurrency;and
        b)     a 1999BlackLexusGS400,bearingCaliforniaLicense611NV728,Vm
               J7-881.
                     168X8X0016655.
         IT IS FURTHER ORDERED,ADJUDOED,AND DECREED thatany and allforfeited
 fundssincluding butnotlim ited to,currency,currency equivalents,certificatesofdeposit, aswella:
                                                                                               s
 anyincomcderivedasaresultoftheUnitedStatesofAmerica'sm anagementofanypropertyforfeited
 herein,and theproceedsfrom thesaleofanyforfeitedproperty shallbedisposed ofaccordingtolaw.
        n e Clerk ishereby directed to send copiesofthisOrderto a11cotmselofrecord and three
 certified copiesto the United StatesAttorney'sOffice.

         DATEDthis C             dayof       ..4.
                                                -.          ,201l.
                                                                  g.'        .
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                                           UNITED            E    ISTRICT JUDGE




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